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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :       Case No:
                                               :
               v.                              :       VIOLATIONS:
                                               :
                                               :
JEREMY BROWN,                                  :
                                               :
                        Defendant.             :       18 U.S.C. § 1752(a)(1) and (2)
                                               :       (Entering or Remaining,
                                               :       Disorderly and Disruptive Conduct, and
                                               :       Engaging in Physical Violence in a
                                               :       Restricted Building or Grounds with
                                               :       Deadly or Dangerous Weapon)

                                            ORDER

       This matter having come before the Court pursuant to the application of the United States

to seal criminal complaint, the Court finds that, because of such reasonable grounds to believe

the disclosure will result in flight from prosecution, destruction of or tampering with evidence,

intimidation of potential witnesses, and serious jeopardy to the investigation, the United States

has established that a compelling governmental interest exists to justify the requested sealing.

       1.      IT IS THEREFORE ORDERED that the application is hereby GRANTED, and

that the affidavit in support of criminal complaint and other related materials, the instant

application to seal, and this Order are sealed until the arrest warrant is executed.

       2.      IT IS FURTHER ORDERED that the Clerk’s office shall delay any entry on the

public docket of the arrest warrant until it is executed.


Date: September 30, 2021
                                                       ___________________________________
                                                       ROBIN M. MERIWEATHER
                                                       UNITED STATES MAGISTRATE JUDGE

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